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                                                                                                FILED
                                                                                     John E. Triplett, Acting Clerk
                                                                                      United States District Court
                      IN THE UNITED STATES DISTRICT COURT
                                                                                  By CAsbell at 3:35 pm, Aug 03, 2020
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 RICHEKAD JEAN,

                Petitioner,                               CIVIL ACTION NO.: 5:20-cv-60

        v.

 TRACY JOHNS,

                Respondent.


                                          ORDER

       Respondent has moved to dismiss Petitioner’s action for habeas corpus relief. Doc. 11.

The Court ORDERS Petitioner to file any objections to the Respondent’s motion for dismissal

or to otherwise inform the Court of his decision not to object to Respondent’s Motion to Dismiss

within 14 days of the date of this Order. If Petitioner does not respond to Respondent’s Motion

within 14 days, the Court will determine there is no opposition to the Motion, grant the Motion

as unopposed, and deem Petitioner to have failed to follow a Court Order.

       SO ORDERED, this 3rd day of August, 2020.




                                     _____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
